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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

   CYTIVA SWEDEN AB and                     )
   GLOBAL LIFE SCIENCES                     )
   SOLUTIONS USA LLC,                       )
                                            )
                                            ) C.A. No. 18-1899-CFC-SRF
                 Plaintiffs,                )
                                            ) CONSOLIDATED
     v.                                     )
                                            )
   BIO-RAD LABORATORIES, INC.,              )
                                            )
                 Defendant.                 )

              PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

          Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs Cytiva Sweden AB

  and Global Life Sciences Solutions USA LLC (“collectively, “Cytiva”) files this

  motion for summary judgment. Plaintiffs seek summary judgment of infringement

  on the basis that Defendant Bio-Rad’s NGC automated liquid chromatography

  system infringes claim 1 of U.S. Patent No. 9,671,420, claim 1 of U.S. Patent No.

  9,709,589, claim 14 of U.S. Patent No. 9,709,590 and claim 16 of U.S. Patent No.

  RE47,124. The grounds for Plaintiffs’ motion are fully set forth in Cytiva’s Opening

  Brief and the Concise Statement of Facts, filed concurrently.

          NOW, THEREFORE, Plaintiffs respectfully request to grant this motion and

  to enter the proposed order attached as Exhibit A.



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